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                  UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                       NORTHERN DIVISION

BRIANNA BOE, et al.,      )
    Plaintiffs,           )
                          )
and                       )
                          )
UNITED STATES OF AMERICA, )                   Case No. 2:22-cv-184-LCB
    Plaintiff-Intervenor, )
                          )
v.                        )
                          )
STEVE MARSHALL, et al.,   )
      Defendants.                      )

              RESPONSE TO ORDER TO SHOW CAUSE AND
              MOTION TO DISMISS MICHAEL SHORTNACY

      COMES NOW Respondent Michael Shortnacy (“Shortnacy”), in response to

the Court’s May 1, 2024 Supplemental Order to Show Cause (doc. 480), and

respectfully offers the reasons why he should not be sanctioned for the acts outlined

in the Panel’s Final Report of Inquiry (“Report of Inquiry”). The evidence presented

to the Panel, including Respondents’ in camera declarations and oral testimony, does

not support an individual finding of bad faith misconduct against Shortnacy.

Shortnacy therefore respectfully requests that the Court dismiss and release him

from any further proceedings resulting from or related to the preliminary factual

findings in the Report of Inquiry. In support, Shortnacy states as follows:
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                                   LEGAL STANDARDS

       In its Supplemental Order to Show Cause, this Court outlined several legal

standards implicated by the Panel’s Report of Inquiry. Doc. 480 at 5-10. Shortnacy

supplements those standards to note the following: 1

       The inherent powers standard is a subjective bad-faith standard. Purchasing

Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1223 (11th Cir. 2017).

Subjective bad faith “is not the same as simple recklessness, which can be a starting

point but requires something more to constitute bad faith.” Id. at 1225. Inherent

powers sanctions are appropriate “‘to sanction the willful disobedience of a court

order, and to sanction a party who has acted in bad faith, vexatiously wantonly, or

for oppressive reasons.’” Id. at 1224 (quoting Marx v. Gen. Revenue Corp., 568 U.S.

371, 383 (2013)). A finding of subjective bad faith is warranted “‘where an attorney




1
  Shortnacy also adopts and incorporates as if fully set forth herein Respondents’ Post-Hearing
Brief filed by Respondents Eagan and Doss (doc. 356), which Shortnacy joined (doc. 366). The
Post-Hearing Brief argues that Respondents’ actions were based on the well-founded belief that
Rule 41(a)(1)(A)(i) conferred an unfettered right to dismiss. It also demonstrates why In re:
BellSouth Corp., 334 F.3d 941 (11th Cir. 2003) is not applicable to the Court’s consideration of
alleged judge-shopping. Many of these arguments were raised before the Panel in a Motion to
Terminate Inquiry. In re Amie Adelia Vague, et al., 2:22-mc-3977-WKW, Doc. 32. The Panel
denied that motion without fully addressing what Shortnacy and other Respondents believe to be
dispositive decisional authorities. As a result, neither the Panel nor this Court has addressed the
dispositive impact of Rule 41 on these proceedings.

Additionally, Rule 11 imposes a different standard than the subjective bad faith standard applicable
under the inherent powers doctrine. See Chambers v. NASCO, Inc., 501 U.S. 32, 47 (1991). Any
distinction is irrelevant with respect to Shortnacy because he did not present any signed paper to
the Court for an improper purpose, which is required under a Rule 11 analysis.

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knowingly or recklessly raises a frivolous argument, or argues a meritorious claim

for the purpose of harassing an opponent.’” Id. at 1225 (quoting Barnes v. Dalton,

158 F.3d 1212, 1214 (11th Cir. 1998)). “The inherent power must be exercised with

restraint and discretion,” and a court considering sanctions “should look for

disobedience.” Id. at 1225.

       Although the Eleventh Circuit has not explicitly addressed the appropriate

evidentiary standard to apply in considering sanctions under the subjective bad faith

standard, courts within the Eleventh Circuit have applied the clear and convincing

standard.2 Clear and convincing evidence “falls on the spectrum between

preponderance of the evidence and beyond a reasonable doubt.” J.C. Penney, 2021

WL 3421394 at *2 (citing Nejad v. AG, Ga., 830 F.3d 1280, 1289 (11th Cir. 2016)).

“Where there are two permissible views of the evidence, the factfinder’s choice

between them cannot be clearly erroneous.” JTR Enterprises, 697 Fed. Appx. at 387.




2 See e.g., JTR Enterprises, 697 Fed. Appx. 976 (11th Cir. 2017) (declining to impose sanctions

where bad faith was not established by clear and convincing evidence); Fletcher v. Ben Crump
Law, PPLC, Case No. 5:21-cv-01433-LCB, 2023 WL 3095571 (N.D. Ala. April 26, 2023) (finding
clear and convincing evidence that attorney acted in bad faith and violated certain Alabama Rules
of Professional Conduct); J.C. Penney Corporation, Inc. v. Oxford Mall, LLC, Case No. 1:19-cv-
560-KOB, 2021 WL 3421394 (N.D. Ala. Aug. 5, 2021) (noting the lack of guidance from the
Eleventh Circuit, but applying the clear and convincing standard out of an abundance of caution),
aff’d, No. 22-12461, 2024 WL 1904569 (11th Cir. May 1, 2024) (noting that neither party
challenged the clear and convincing standard on appeal); Roche Diagnostics Corp. v. Priority
Healthcare Corp., Case No. 2:18-cv-01479-KOB, 2020 WL 2308319 (N.D. Ala. May 8, 2020)
(same).

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                                         ARGUMENT

       The Court’s Supplemental Order to Show Cause directs Shortnacy to show

cause why he should not be sanctioned for impermissible judge-shopping and for

misrepresenting or otherwise failing to disclose key facts during the Panel’s inquiry.3

Doc. 480 at 10-12. The Panel’s Report of Inquiry did not make any specific findings

of bad faith misconduct against Shortnacy—much less any findings that were

supported by clear and convincing evidence. In re Amie Adelia Vague, et al., 2:22-

mc-3977-WKW, Doc. 70. As the Panel stated in its November 3, 2023 order, the

Report of Inquiry contained only preliminary findings of fact that this Court may

“accept[], reject[], or modify[] in whole or in part….” Doc. 99. Below, Shortnacy

demonstrates that the evidence presented to the Panel does not warrant any finding

of bad faith misconduct or sanctions against him. Shortnacy therefore respectfully

urges this Court to release him from any further proceedings.




3 Shortnacy and other Respondents filed a Joint Motion for Clarification and Objection to Order

to Show Cause, which asserted that the Court’s original Order to Show Cause (doc. 406) did not
give each Respondent notice of what specific rule he or she has allegedly violated and how he or
she violated it. Doc. 423. The Court’s Supplemental Order to Show Cause suffers from the same
infirmity because it describes the potentially sanctionable conduct in vague, collective terms. For
example, Section III(b) still impermissibly requires Shortnacy to guess at which portions of the
Panel’s report “implicat[e] either his credibility or any discrepancies between his own oral and
written testimony and the oral and written testimony of all other attorneys who testified before the
Panel.” Doc. 480 at 12. Shortnacy adopts and incorporates that motion as if fully set forth herein.
Shortnacy also adopts and incorporates the due process arguments asserted in Respondents’ Post-
Hearing Brief (doc. 356) and the Objection to Supplemental Orders to Show Cause (doc. 493) as
if fully set forth herein.

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I.      THE EVIDENCE BEFORE THE PANEL DOES NOT SUPPORT A
        FINDING OF BAD FAITH MISCONDUCT OR SANCTIONS
        AGAINST SHORTNACY FOR ENGAGING IN JUDGE-SHOPPING.

        Shortnacy should be dismissed from further disciplinary proceedings because

he was not a decision-maker driving any of the alleged acts underlying the Panel’s

concerns about impermissible judge-shopping—namely, the voluntary dismissal of

Ladinsky v. Ivey, 5:22-cv-447-LCB (N.D. Ala.) (“Ladinsky”) and the filing of

Ecknes-Tucker v. Ivey, 2:22-cv-184-LCB (M.D. Ala.) (“Ecknes-Tucker”) in the

Middle District of Alabama. Further, he testified that from his perspective the

reasoning behind the decision to voluntarily dismiss Ladinsky after the Walker

dismissal was motivated by multiple factors beyond counsel’s assumed prospects of

success before this Court. Those factors included the following: (a) what he and

other Ladinsky counsel perceived as an irregular case reassignment, (b) the desire to

retain their status as the first-filed case in light of the transfer to the judge presiding

over the second-filed case, and (c) the good faith belief that counsel had a right to

voluntary dismissal under Rule 41 of the Federal Rules of Civil Procedure.4

        The Panel did not make any individual findings of misconduct against

Shortnacy or categorize him as a leader or decision-maker. Report of Inquiry at 50-



4 The Panel compelled testimony from Respondents concerning counsel’s private discussions,

despite objections that those discussions are confidential and subject to the attorney-client
privilege and the work product doctrine. See In re Amie Adelia Vague, et al., 2:22-mc-3977-WKW,
Motion for Protective Order (doc. 27) and Order denying the same (doc. 41).

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52. Instead, the evidence indicates that he is an out-of-state attorney, who in good

faith, relied on the judgment of co-counsel more familiar with local judges and

procedures. The actions of others, if wrongful, cannot and should not be imputed to

Shortnacy. See United States v. Shaygan, 652 F.3d 1297, 1319 (11th Cir. 2011); see

also JTR Enterprises, LLC v. Columbian Emeralds, 697 Fed. Appx. 976, 987 (11th

Cir. 2017) (“Bad faith is personal to the offender. One person’s bad faith may not be

attributed to another….”).

       A.     Shortnacy Was Not a Decision-Maker Behind the Voluntary
              Dismissal of Ladinsky or the Filing of Ecknes-Tucker in the Middle
              District.

       The Panel recognized that respondents had different “roles in the decision-

making process” and categorized several as “leaders and decision-makers” in the

topic areas underlying its preliminary findings of misconduct. Report of Inquiry at

11-12. The Panel correctly omitted Shortnacy from this category. Id. at 12. The

following evidence presented to the Panel supports the conclusion that Shortnacy

was not a decision-maker behind the alleged grounds of misconduct identified in the

Report of Inquiry:

       • At all relevant times, Shortnacy was a partner at King & Spalding LLP’s
         (“K&S”) Los Angeles office. Shortnacy Declaration ¶ 1.5 Along with K&S



5
  On December 12, 2023, Shortnacy left K&S to join Shook, Hardy & Bacon, L.L.P in Los
Angeles, California. Doc. 389, Motion to Withdraw. This Court granted his motion to withdraw
as counsel for the Ecknes-Tucker plaintiffs on February 21, 2024. Doc. 404.

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           partner Brent Ray and associate Abigail Hoverman Terry,6 Shortnacy
           represented the Ladinsky plaintiffs and then the Ecknes-Tucker plaintiffs
           on a pro bono basis. Id. ¶¶ 1, 4. The K&S lawyers are not admitted to
           practice law in Alabama, and Shortnacy had never appeared in any
           Alabama court. Id. ¶¶ 5, 9(h). Unlike some other members of Ladinsky
           counsel who regularly practiced civil rights litigation, Shortnacy’s law
           practice was “focused on the defense of consumer class actions and
           regulatory enforcement actions relating to consumer protection statutes,
           primarily in the automotive and consumer product industries.” Id. ¶ 4;
           August 4, 2022 Tr. at 226:1-7 (referencing his experience defending MDL
           litigation and class actions “that are filed by competing plaintiffs’ firms
           routinely and…fighting with each other for primacy”).

       • Because Shortnacy grew up in Birmingham, he was involved in proposing
         and selecting Lightfoot Franklin & White (“Lightfoot”) as co-counsel. Id.
         ¶ 7(a); August 4, 2022 Tr. at 209-10. K&S lawyers described Lightfoot as
         “local counsel plus” and “equal partners” in the litigation. August 4, 2022
         Tr. at 152:8-21, 191:10-14.

       • Shortnacy and other Respondents testified that Lightfoot, and sometimes
         the advocacy groups, acted as the primary leaders and decision-makers
         with regard to the following: (a) sharing information and opinions of
         judges in the Northern District of Alabama,7 (b) the decision to dismiss

6 Ray and Terry have already been released from further proceedings. See In re Amie Adelia Vague,

et al., Case No. 2:22-mc-3977-WKW, Doc. 70 at 50-52 (omitting Ray from its preliminary
findings of fact) and Doc. 59 (terminating its inquiry against Terry and releasing her from further
proceedings). They continue to represent the Ecknes-Tucker plaintiffs.
7 Shortnacy Declaration ¶ 6(h) (“After the Ladinsky case was assigned to Judges Cornelius and

Axon, I asked Abigail Terry to work with K&S library staff to pull background information on
each of the judges. We also pulled this background information on Judge Burke, but not until after
Ecknes-Tucker was filed and transferred to Judge Burke. It is my standard practice to pull this
information for any judge to whom my cases are assigned.”); Id. ¶ 9(h) (“Because I have not
practiced in Alabama or in its federal courts before, I did not have any opinion of Judge Burke and
deferred to the advice and knowledge from the lawyers at Lightfoot and the Advocacy Groups that
were more experienced in practicing there.”); Terry Declaration ¶ 13(g) (same); August 4, 2022
Tr. at 179-82 (Ms. Terry’s recollection of Lightfoot’s assessment of certain judges in the Northern
District of Alabama); November 3, 2022 Tr. at 32:7-16, 61:6-9 (Respondent Orr’s recollection of
the same); Id. at 80-81 (Ms. Stone’s recollection of the same); Id. at 118-19 (Respondent McCoy’s
recollection of the same).

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           Ladinsky,8 and (c) whether to file Ecknes-Tucker in the Southern Division
           of the Northern District of Alabama or the Middle District of Alabama and
           who to name as plaintiffs.9 Because Shortnacy and the other K&S lawyers
           were not admitted to practice law in Alabama and had never appeared in
           any Alabama court, they testified that they relied on local counsel’s
           assessments regarding the assigned judges and the operation of the random
           case assignment process and the first-filed rule. Shortnacy did not have any
           independent knowledge of Judge Burke outside the opinions of co-counsel.
           August 4, 2022 Tr. at 179-82, 205:7-15, 218:13-23 (Shortnacy testified: “I
           don’t practice here. I don’t know—now I do—several judges in the State
           of Alabama on the federal bench. I didn’t before. And so I…have [in
           Lightfoot] a very strong and capable and reputable firm whose legal
           judgment I trust”).

       • Shortnacy’s declaration and the K&S lawyers’ oral testimony
         demonstrates that Shortnacy did not assume a decisional role on the April
         13 call involving Walker counsel. On that day, he participated in a video
         call between Walker and Ladinsky counsel to discuss Walker counsel’s
         response to Judge Marks’ Order to Show Cause why Walker should not be
         transferred to the Northern District of Alabama. Shortnacy Declaration ¶ 8.
         He took no position on where Walker should have been assigned or
         transferred. Id. ¶ 8(c); August 4, 2022 Tr. at 213-14.

       • Additional evidence confirms he did not assume a decisional role on the
         Good Friday, April 15 call. While standing on a street corner in Los

8
 August 4, 2022 Tr. at 218:13-23 (Shortnacy’s testimony regarding his reliance on local counsel);
November 3, 2022 Tr. at 270:16-23 (Ms. Warbelow’s recollection that Respondents Levi, Minter,
and Lightfoot were the primary decision-makers behind the dismissal of Ladinsky); November 3,
2022 Tr. at 158-59 and Minter Declaration ¶ 6 (Respondent Minter’s testimony that he suggested
dismissal and the K&S attorneys were not driving these decisions); Id. at 49:13-19 (Respondent
Orr’s testimony that Respondent Minter initially suggested dismissal).
9 Shortnacy Declaration ¶ 7(d) (stating he was not involved “in the final decision-making process

regarding which parties to name or where to file that case. I did not make the decision regarding
who to include as plaintiffs.”); August 4, 2022 Tr. at 183-84 (Ms. Terry’s recollection that the
original intent was to file Ecknes-Tucker in the Northern District, but others decided to file in the
Middle District); Id. at 197:3-7 (Mr. Ray’s recollection that Lightfoot “wanted to seek a random
judge assignment in a new case with new plaintiffs because they felt that something was amiss”);
Id. at 232:8-21 (Shortnacy’s recollection of the same); November 3, 2022 Tr. at 158-59
(Respondent Minter’s testimony that the K&S attorneys were not driving these decisions).

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      Angeles, he participated by telephone in a video call to discuss Judge
      Axon’s order transferring Ladinsky to Judge Burke. Shortnacy Declaration
      ¶ 9(c)-(d). Shortnacy, the other K&S lawyers, and the Lightfoot lawyers
      testified that Shortnacy suggested filing a motion to reconsider the transfer
      before Judge Axon, but other Ladinsky counsel declined under the belief
      that Judge Axon no longer had jurisdiction. Id. ¶ 9(g); August 4, 2022 Tr.
      at 80:1-17, 169:12-24, 229:11-16, 241:13-20. Shortnacy followed and
      abided by the opinions and judgment of co-counsel.

   • Shortnacy was not involved in the alleged coordination of the Walker and
     Ladinsky dismissals. Shortnacy Declaration ¶ 9(k) (“Lightfoot and the
     Advocacy Groups spoke with Walker counsel and our clients…I was not
     involved in any conversation with Walker counsel or with our clients about
     the dismissal.”); August 4, 2022 Tr. at 220:24-25 – 221:1-4 (“I had none
     of those discussions directly with the coordinating of that fact, but that was
     a concern that…was expressed in our Ladinsky group: That we had an
     agreement with Walker that they would, in fact, dismiss their case for that
     very reason, that we wouldn’t find ourselves with no case and with them
     with the lead.”). Additionally, he was not involved in any post-dismissal
     comments to the media regarding filing a new lawsuit.

   • Shortnacy was not involved in any decision-making process surrounding
     where to file Ecknes-Tucker. August 4, 2022 Tr. at 222:4-13; Shortnacy
     Declaration ¶ 10 (“I later learned, based on the location of the plaintiffs
     and defendants named in Ecknes-Tucker, Lightfoot and the Advocacy
     Groups made the decision to file Ecknes-Tucker in the Middle District. I
     was not involved in that decision. That decision was communicated to me
     after it was made”). Respondent Minter later informed him of the decision
     to file Ecknes-Tucker in the Middle District of Alabama. Id. Nevertheless,
     Shortnacy had a good faith basis to believe venue was proper in the Middle
     District because he learned from others that the newly named plaintiffs
     resided in the Middle District. To this day, venue has not been challenged
     in this lawsuit. Further, Shortnacy did not believe the decision to dismiss
     and file Ecknes-Tucker in the Middle District delayed their pursuit of
     emergency injunctive relief. On Good Friday, Ladinsky counsel was
     already working on an amended pleading with additional claims and a
     motion for a preliminary injunction, all with the goal to file early the
     following week. August 4, 2022 Tr. at 229:19-25. Ecknes-Tucker was
     electronically docketed on Wednesday, April 20, 2022, and the motion for
     preliminary injunction was filed the following day. This means counsel did
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           not lose more than a day or two by dismissing and filing a new lawsuit in
           the Middle District.

      • Shortnacy was never admitted pro hac vice in Ladinsky (Shortnacy
        Declaration ¶ 5), therefore he did not sign the voluntary dismissal (id. ¶
        9(k); Ladinsky v. Ivey, Case No. 5:22-cv-00447-LCB, Doc. 15).

      The above evidence demonstrates that Shortnacy was not a decision-maker

driving the alleged acts related to impermissible judge-shopping identified the

Panel’s Report of Inquiry. The record conclusively indicates that Shortnacy did not

assume a decisional role in these events. Not a single Respondent testified to the

contrary. There is no clear and convincing evidence that Shortnacy acted in bad faith,

therefore sanctions are not warranted under Section III(a) of this Court’s

Supplemental Order to Show Cause.

      B.      Shortnacy and Other Ladinsky Counsel Consistently Testified that
              the Decision to Voluntarily Dismiss Ladinsky Was Based on
              Multiple Factors Beyond their Assumed Prospects of Success
              Before Judge Burke.

      There was no clear and convincing evidence presented to the Panel indicating

that Shortnacy acted in bad faith in allowing the voluntary dismissal to proceed.

Shortnacy testified that based on his recollection of the Good Friday afternoon group

call, the dismissal was motivated by the following: (1) counsel did not “understand

the sua sponte transfer [of Ladinsky] by Judge Axon to Judge Burke” (August 4,

2022 Tr. at 215:15-232; see also Shortnacy Declaration ¶ 9(f)); (2) counsel was

concerned they would lose their position as the first-filed case and as lead counsel

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in light of the transfer (id. at 217-218, 228-29; id.); (3) counsel believed voluntary

dismissal was appropriate under Rule 41 of the Federal Rules of Civil Procedure (id.

at 217:11-17; id.); and (4) other counsel on the call had reservations about how Judge

Burke would receive the “politically charged issue on [their] hands” (id. at 218:3-6;

id.).

        Shortnacy also discussed several other considerations that influenced his

personal view of the decision to dismiss Ladinsky on April 15. For example, he

testified that “at the time we were making this decision, while Mr. Ray is in Paris, I

really relied on my co-counsel. I don’t practice here. I don’t know—now I do—

several judges in the State of Alabama on the federal bench. I didn’t before. And so

I had in Lightfoot…have a very strong and capable and reputable firm whose legal

judgment I trust.” August 4, 2022 Tr. at 218:13-20. Brent Ray is Shortnacy’s law

partner, but he did not have the benefit of Ray’s input over the Easter holiday

weekend. Shortnacy also testified that the late Friday afternoon timing of Judge

Axon’s transfer order required counsel to make a quick decision: “We were on a

Friday night, on Good Friday, without a lot of good options because we believed

that dismissal was an available remedy for us….” Id. at 217:11-13.

        From Shortnacy’s perspective, counsel had a good faith belief that voluntary

dismissal of both Walker and Ladinsky was an available remedy to preserve

Ladinsky’s status as the first filed case in light of what counsel at the time perceived


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to be an irregular case reassignment. Because there is no clear and convincing

evidence that Shortnacy attempted to manipulate the random case assignment

procedures for the U.S. District Courts for the Northern and Middle Districts of

Alabama, Shortnacy respectfully requests that he be dismissed and released from

further proceedings.

II.   SHORTNACY DID NOT MISREPRESENT OR OTHERWISE FAIL
      TO DISCLOSE KEY FACTS DURING THE PANEL’S INQUIRY.

      The Court ordered Shortnacy to show cause why he should not be “sanctioned

for misrepresenting or otherwise failing to disclose key facts during the Panel’s

inquiry.” Doc. 480 at 11, Section III(b). In doing so, Respondents must address “any

findings in Section IV of the Panel’s Report implicating either his credibility or any

discrepancies between his own oral and written testimony and the oral and written

testimony of all other attorneys who testified before the Panel.” Id. at 12. The Court

did not specifically identify any discrepancies between Shortnacy’s and other

Respondents’ testimony, but asked Shortnacy to address the Panel’s preliminary

finding that it was misconduct for all counsel “to claim that the dismissal was

because Judge Axon did not explain the reassignment of Ladinsky and [the Court]

set Walker for a status conference….” Id.

      As an initial matter, Shortnacy truthfully testified on all matters to the best of

his recollection both in his written and oral testimony. As stated in Shortnacy’s

Motion for Leave to Submit Additional Evidence, “Shortnacy’s prior declaration and
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testimony accurately represents his recollection of his limited role in the events and

circumstances outlined in the Panel’s Report of Inquiry.” Doc. 434. Other

Respondents’ testimony is consistent with his own. See Section I. For the reasons

explained below, there is no (much less clear and convincing) evidence supporting

a sanction against Shortnacy for misrepresenting or otherwise failing to disclose

facts to the Panel.

      Shortnacy and other Ladinsky counsel consistently testified that the reasons

explained in Section I(B) contributed to the decision to dismiss Ladinsky the evening

of Good Friday, April 15, 2022. Respondents were subject to a modified version of

Federal Rule of Evidence 615, yet they testified that each of these reasons factored

into the decision to voluntarily dismiss Ladinsky. See August 4, 2022 Tr. at 77:8-22,

80-81, 93:10-25, 135:25 – 136:1-18 (Respondent Eagan); Id. at 241:7-12, 242-243,

256:14-22 (Respondent Doss); November 3, 2022 Tr. at 54:11-17, 55:1-8, 69:23-25-

70:1-3 (Respondent Orr); Id. at 107:20-25, 186:12-20, 187:4-19, 189:18-25-190:1-

5 (Respondent McCoy); Id. at 139:18-23, 147:1-19, 150:5-11, 156:14-24, 162:77-

22, 172:7-22 (Respondent Minter); November 4, 2022 Tr. at 19-21, 42:15-23

(Respondent Levi).

      The Panel imposed the sequestration order “to get unrehearsed, unvarnished

testimony from each person of what their recollection was and not have that




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recollection blurred by what they hear[d] from someone else.” August 4, 2022 Tr. at

271:3-6. That is exactly what the Panel received.

      Nevertheless, the Panel discredited and rejected Respondents’ testimony and

instead found that the sudden reassignment order from Judge Axon to Judge Burke

(which threatened the first-filed priority of Ladinsky) played no role in the

conversations resulting in the voluntary dismissals of both Walker and Ladinsky. In

other words, all Respondents must have misled the Panel. Specifically, the Report

of Inquiry states “[t]hat counsel wanted to avoid Judge Burke is the only logical

explanation of these and the other events discussed in this opinion, including the

degree, speed, and substance of counsel’s reaction to the transfer order.” Report of

Inquiry at 42. Respectfully, that finding is not supported by any evidence,

particularly in light of all Respondents’ consistent testimony to the contrary.

      Additionally, the Court indicated at the March 19, 2024 hearing that it was

concerned about the testimony of a “junior associate” who told “the panel

things…that none of the respondents happened to mention….” March 19, 2024 Tr.

at 10:5-8. Shortnacy believes the Court was referring to the oral testimony of K&S

associate Terry, who testified that she recalled Lightfoot indicating “there was a zero

percent chance that Judge Burke would grant” the plaintiffs’ preliminary injunction

motion. August 4, 2022 Tr. at 179:21-23-180:7-8. Although the other Respondents




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did not frame this opinion in terms of numerical odds,10 Respondents consistently

testified that the lawyers who frequently practiced in the Northern District of

Alabama viewed Judge Burke to be a less desirable draw for the case than Judge

Axon. The Panel also noted the consistency of Respondents’ testimony on this point:

        The attorneys’ testimony was consistent: Judge Axon was viewed as a
        good draw for their cases and Judge Burke was not. (See, e.g.,
        Shortnacy Dec. at 10, ¶ 9.f; Hoverman Terry Dec. at 9-10, ¶ 13.e; Levi
        Dec. at 12-13, ¶ 9; Warbelow Dec. at 78, ¶ 18; Soto Dec. at 60, ¶ 4;
        Aug. 4 Hearing Tr. at 77-79, 179, 218, 249; Nov. 3 Hearing Tr. at 151,
        185-87, 191-94, 269).

Doc. 70 at 34. Ms. Terry is the only individual that recalled the “zero percent chance”

statement, yet the Panel appears to have credited her testimony over other

Respondents to establish a fact. The percentage characterization is immaterial

because all Respondents who were asked consistently conceded in their testimony

that local counsel viewed Judge Burke to be a less desirable draw.11

        Shortnacy reviewed his and other Respondents’ written and oral testimony

and did not identify any material discrepancies. If the Court perceived any specific



10
   The Panel asked Respondents Orr (November 3, 2022 Tr. at 59-60), Minter (id. at 149:22-25-
150:1-11, 151:3-17), McCoy (id. at 195:1-10), Ms. Warbelow (id. at 269:4-17; 276:3-11), and
Respondent Levi (November 4, 2022 Tr. at 33:16-23) some variation of this question. They all
testified they did not recall anyone characterizing the odds of winning a preliminary injunction
motion before Judge Burke. The Panel asked Respondent Doss to assign a percentage to his
assessment, but he stated simply that the concern was Judge Burke would be “less receptive.”
(August 4, 2022 Tr. at 248:12-25-249:1-10).
11 The Panel never asked Shortnacy whether he recalled a “zero percent chance” statement. To

avoid any doubt, he does not.

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inconsistencies during its own review or if the Court requires additional information,

Shortnacy will respond accordingly.

                                  CONCLUSION

      There is no evidence, much less clear and convincing evidence, before this

Court suggesting that Shortnacy acted with subjective bad faith in any respect or

misrepresented any fact to the Panel or the Court. Sanctions against Shortnacy are

therefore not supported by the record. Shortnacy respectfully requests that he be

dismissed and released from further proceedings resulting from or related to the

preliminary factual findings in the Panel’s Report of Inquiry.

                                       Respectfully submitted,

                                       /s/ Bruce F. Rogers
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                          CERTIFICATE OF SERVICE

        I hereby certify that on May 13, 2024, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will give notice of such
filing to all counsel of record.

                                        /s/ Bruce F. Rogers
                                        OF COUNSEL




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